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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
PERICLES CLERGEAU,                   )
                                     )
                                     )
            Plaintiff,               )
                                     )
                                     )   Civil Action No. 1:21-CV-10136-AK
v.                                   )
                                     )
MASSACHUSETTS DEPARTMENT OF )
CORRECTION, et al.,                  )
                                     )
            Defendants.              )
                                    )

                          ORDER SETTING CIVIL JURY TRIAL

A. KELLEY, D.J.

        This case is set for a jury trial commencing on March 18, 2024 at 9:00 AM. Trial will
take place in Courtroom 8 on the third floor of the John Joseph Moakley United States
Courthouse in Boston, MA, before the Honorable Angel Kelley. Trial will commence with jury
selection, which will proceed all day if necessary. The parties should anticipate that opening
statements and presentation of evidence will follow immediately after jury empanelment and will
continue until 1:00 PM. Trial will be conducted daily from 9:00 AM to 1:00 PM until
deliberations, unless the Court orders otherwise. The Court will meet with counsel at 8:30 AM
each day to resolve evidentiary or other legal issues.

I.     FINAL PRETRIAL CONFERENCE

       A. Pursuant to Fed. R. Civ. P. 16 and Local Rule 16.5, counsel shall appear for a final
          pretrial conference on February 21, 2024, at 2:30 PM in Courtroom 8.

       B. Unless excused by the Court, each party shall be represented at the final pretrial
          conference by counsel who will conduct the trial.

       C. Prior to the final pretrial conference, counsel shall confer with their clients and each
          other to explore the possibilities of settlement. Counsel shall be prepared to advise
          the Court as to settlement prospects and be authorized or accompanied by persons
          authorized to engage in settlement discussions and consummate settlement.

       D. All pending motions and other matters ready for hearing will be considered at the
          conference.



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       E. The Court may schedule interim status conferences or hearings as it deems necessary.

II.    SCHEDULE OF DISCLOSURES

       A. Disclosures: In preparation for the final pretrial conference, the parties shall disclose
          to one another, in accordance with Fed. R. Civ. P. 26(a)(3) and Local Rule 16.5(c), by
          no later than the close of business on January 31, 2024.

              1. all photographs, documents, instruments, and other objects either party intends
                 to offer as exhibits at trial, other than solely for impeachment;

              2. the names, addresses, and telephone numbers of witnesses each party intends
                 to call at trial, including expert witnesses; and

              3. the names of witnesses, if any, whose testimony is to be presented by means
                 of deposition and a transcript of the pertinent portions of the deposition
                 testimony.

       B. Objections: Following the disclosures made pursuant to Section II.A, the parties
          shall serve upon one another, by no later than the close of business on January 31,
          2024, a list describing any objections thereto and the grounds therefor. Per Local
          Rule 16.5(c), these objections shall be one of the subjects of the parties’ meeting (see
          infra Section II.C) prior to the final pretrial conference, and if not resolved, shall be
          presented to the Court in the parties’ Joint Pretrial Memorandum (see infra Section
          III.A). Objections not so disclosed, other than objections pursuant to Fed. R. Evid.
          402 and 403, are waived according to Fed. R. Civ. P. 26(a)(3)(B), unless excused by
          the Court for good cause.

       C. Conference: In further preparation for the final pretrial conference, the parties shall
          meet personally on or before February 7, 2024 to discuss and negotiate settlement, to
          narrow the issues to be tried, and to prepare a Joint Pretrial Memorandum as
          described in Section III.A.

III.   SCHEDULE OF PRETRIAL FILINGS

       A. Joint Pretrial Memorandum: The parties shall prepare and file no later than
          February 7, 2024, a joint pretrial memorandum which sets forth the following
          issues pursuant to Local Rule 16.5(d):

              1. the anticipated length of trial;

              2. a succinct and neutral statement summarizing the principal claims and
                 defenses of the parties to be read to the venire during empanelment;

              3. a concise summary of the evidence to be offered by the plaintiff and the
                 defendant with respect to both liability and damages, including special
                 damages;



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       4. a statement of facts established by the pleadings, admissions, or stipulations;

       5. contested issues of fact;

       6. any jurisdictional questions;

       7. a statement regarding damages;

       8. any requested amendments to pleadings;

       9. any additional matters to aid in the disposition of the action;

       10. the names of witnesses to be called in order of their anticipated introduction to
           the Court, the cities in which the witnesses reside, the purpose of the
           testimony of each witness, i.e., factual or expert, whether the testimony of any
           such witness is to be presented by deposition, and the qualifications of any
           expert witness unless the qualifications are stipulated;

       11. a list of “Uncontested Exhibits,” i.e., photographs, documents, instruments,
           and all other objects, as to which there appear to be no objections, identified
           and marked by a single sequence of numbers regardless of which party is the
           proponent, in the form attached hereto as Appendix A;

       12. a list of “Exhibits to be Offered at Trial” of exhibits to which each party
           reserves the right to object, identified and marked by the party proponent
           and a separate sequence of capital letters for each party, i.e. Plaintiff(s)
           A-Z and Defendant(s) A-Z, in the form attached hereto as Appendix A; and

       13. the parties’ respective positions on any deposition testimony being offered, as
           well as any remaining objections to the evidence identified in the pretrial
           disclosures required by Fed. R. Civ. P. 26(a)(3) and Local Rule 16.5(c).

B. Motions in Limine: Any motion in limine or other pretrial motion shall be filed by
   February 7, 2024. Oppositions are due by February 14, 2024.

C. Voir Dire: The parties shall jointly file a single document containing the parties’
   proposals on questions for the voir dire examination of the jury by March 4, 2024.

       1. The parties shall clearly indicate questions to which there are no objections
          and any questions that are contested. Objections should include citations to
          authority where appropriate. If the objections include proposed modifications
          of the voir dire questions, such proposed modifications shall be presented
          using underlining (for proposed additions) and strike-out (for proposed
          deletions).

       2. The parties shall also send an editable Word version of this document to the
          Deputy Clerk by March 4, 2024.



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      D. Jury Instructions: The parties shall jointly file a single document containing the
         parties’ proposals on requests for instructions to the jury, with citations to supporting
         authority, by March 4, 2024.

             1. The parties need not include preliminary instructions or boilerplate post-trial
                instructions.

             2. The parties shall clearly indicate instructions to which there are no objections
                and any instructions that are contested. Objections should include citations to
                authority where appropriate. If the objections include proposed modifications
                of the jury instructions, such proposed modifications shall be presented using
                underlining (for proposed additions) and strike-out (for proposed deletions).

             3. The parties shall also send an editable Word version of this document to the
                Deputy Clerk by March 4, 2024.

      E. Proposed Interrogatories or Special Verdicts: By March 4, 2024, the parties shall
         file either jointly or separately the parties’ proposals on any proposed
         interrogatories or special verdict form. The parties shall also send an editable Word
         version of these filings to the Deputy Clerk by March 4, 2024.

      F. Trial Brief: Each party shall prepare and file no later than March 4, 2024, a trial
         brief pursuant to Local Rule 16.5(f), setting forth the following:

             1. any outstanding questions raised by motions or Court orders; and

             2. other issues of law or requests regarding foreseeable disputes concerning
                evidentiary or other issues, including authority for the ruling requested.

IV.   CHARGE CONFERENCE

      A. Charge Conference: An initial charge conference concerning voir dire, jury
         instructions, proposed interrogatories or special verdict forms, and any issues raised
         in the trial briefs will be held on March 13, 2024 in Courtroom 8.

V.    COURTESY COPIES

      A. Courtesy Copies of Filings: The parties shall provide paper courtesy copies of the
         Joint Pretrial Memorandum, Trial Briefs, and any motions or oppositions that include
         exhibits.

             1. Courtesy copies shall be double-sided and must be stamped or otherwise
                prominently marked as follows: “COURTESY COPY – DO NOT SCAN.”

             2. Courtesy copies shall be delivered to the Clerk’s Office within 2 business
                days of electronic filing.




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      B. Courtesy Copies of Exhibits: At least one business day before trial, counsel shall
         provide the Court with 3 paper courtesy copies of all exhibits and any deposition
         transcripts that may be used for impeachment purposes. If counsel plan to place
         paper copies of exhibits on the witness stand, counsel should ensure that they come
         prepared with enough copies of exhibits for both the testifying witness and the
         examining attorney.

VI.   OTHER REQUIREMENTS

      A. Notice of Settlement: In the event that some settlement of the case is reached before
         the pretrial conference, counsel shall immediately, by telephone and email, notify the
         Deputy Clerk and promptly submit closing papers.

      B. Privacy Policy: The judiciary’s privacy policy restricts the publication of certain
         personal data in documents filed with the court. The policy requires limiting social
         security and financial account numbers to the last four digits, using only initials for
         the names of minor children, limiting dates of birth to the year, and limiting home
         addresses to city and state. If such information is elicited during testimony or other
         court proceedings, it will become available to the public when the official transcript is
         filed at the Courthouse. The better practice is for counsel to avoid introducing this
         information into the record in the first place. The parties shall take this into account
         when questioning witnesses or making other statements in Court. If a restricted item
         is mentioned in Court, the parties have waived any right to have it stricken or
         redacted thereafter.

      C. Reclaiming Trial Exhibits: All trial exhibits must be reclaimed immediately upon
         conclusion of trial. This policy is strictly enforced by the Court, as there is no space
         at the Courthouse to store exhibits after a trial has ended.

      D. Compliance with the Court’s Order: Failure to comply with any of the directions
         set forth above may result in judgment of dismissal or default or the imposition of
         other sanctions deemed appropriate by the Court. The timely filing of these trial
         documents is required.

      SO ORDERED.

Dated: December 20, 2023                                    /s/ Angel Kelley
                                                            Hon. Angel Kelley
                                                            United States District Judge




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                                              Appendix A

Use the samples below to prepare the joint exhibit lists.

                                 Sample “Uncontested Exhibits” List

     1                     2              3                 4          5       6
   Exhibit                              Brief
                   Offered By
   Number                            Description
                                     MGH Record
         1            Gov’t
                                      (1/12/21)
                                      Photo of
         2               Def.         Accident
                                        Scene

* Leave columns 4-6 blank.


                           Sample “Exhibits to Be Offered at Trial” List

    1               2                3             4            5          6       7
  Exhibit        Offered           Brief
                                              Objection
  Letter           By           Description
                                   Police
     A            Gov’t            Report      Hearsay
                                 (1/12/21)
                                 Photo of
     B            Gov’t                        Prejudice
                                  Injuries
                                 Photo of
     A            Def.           Accident     Foundation
                                   Scene
                                   Driver
     B            Def.                        Relevance
                                  History

* Leave columns 5-7 blank.




                                                   6
